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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
Joseph Anthony Sikora,

Plaintiff, Case No. 19-cv-12458

Vv. Judith E. Levy
United States District Judge
Ford Motor Company,
Mag. Judge Elizabeth A. Stafford
Defendant.

/

ORDER DISMISSING CASE FOR LACK OF SUBJECT MATTER
JURISDICTION [1]

On August 21, 2019, plaintiff Joseph Sikora initiated this lawsuit
against defendant Ford Motor Company. Plaintiff paid the filing fee of
$400. Plaintiff alleges that defendant, his employer, changed his W4 tax
withholdings “without permission from the Plaintiff or a signed court
order from a judge of competent jurisdiction.” (ECF No. 1, PageID.5.)
Plaintiff seeks injunctive relief requiring defendant to reverse the
changes to his W4 withholdings and return all wrongfully withheld
funds. (dd. at PageID.5.) Plaintiff also seeks punitive damages of $1.5

million. ¢d. at PageID.5.) Plaintiff cites as his causes of action the Fourth
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Amendment of the United States Constitution, a criminal mail fraud
statute (18 U.S.C. § 1341), and the Supreme Court Case Reisman v.
Caplin, 375 U.S. 440 (1964), which addressed the proper remedy for an
improper summons issued by the Internal Revenue Commissioner. (ECF
No. 1, PageID.3.)

Without ruling on the merits of plaintiffs claim, this Court
dismisses the present action for lack of subject matter jurisdiction. With
statutory exceptions not relevant here, the Anti-Injunction Act provides
that “no suit for the purpose of restraining the assessment or collection
of any tax shall be maintained in any court by any person, whether or not
such person is the person against whom such tax was assessed.” 26
U.S.C. § 7421(a). The statutory language “could scarcely be more
explicit.” See Bob Jones Univ. v. Simon, 416 U.S. 725, 736 (1974). Where
it applies, the Anti-Injunction Act serves as a jurisdictional bar. See id.
at 749; Torp v. United States, No. 18-2114, 2019 U.S. App. LEXIS 20032,
at *4 (6th Cir. July 3, 2019) (citing Ecclesiastical Order of the ISM of AM
v. IRS, 725 F.3d 398, 402 (6th Cir. 1984)); Gardner v. United States, 211
F.3d 1305, 1811 (D.C. Cir. 2000) (noting that a district court “must

dismiss for lack of subject matter jurisdiction any suit [relating to the
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collection of taxes] that does not fall within one of the exceptions to the
Anti-Injunction Act.”).

Plaintiff seeks to restrain the collection of federal income taxes
through withholding. As such, the Anti-Injunction Act applies here, and
the Court must dismiss plaintiff's complaint for lack of subject matter
jurisdiction.!

Though the Court limits its holding to the jurisdictional issue, it
notes that plaintiff's claim is also barred by statute. Section 34038 of the
Internal Revenue Code provides, regarding withholdings, “the employer
shall be liable for the payment of the tax required to be deducted and
withheld under this chapter, and shall not be liable to any person for the
amount of any such payment.” 26 U.S.C. § 3403. Courts have consistently
held that this section prohibits suits by employees against their

employers with respect to federal tax withholdings. See Bright v. Bechtel

1 In addition to the statutory exceptions, the Supreme Court has recognized a
narrow exception to the applicability of the Anti-Injunction Act where, in a case
against the United States, “under no circumstances could the Government prevail”
and “equity jurisdiction otherwise exists.” Enochs v. Williams Packing & Nav. Co.,
370 U.S. 1, 5 (1962). Plaintiffs case does not qualify for the exception to the Act

recognized in Enochs, as plaintiff brings this action against plaintiffs employer, not
the government.
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Petroleum, 780 F.2d 766, 770 (9th Cir. 1986); Giles v. Volvo Trucks, 551
F. Supp. 2d 359, 363 (M.D. Pa. 2008) (citing cases).

For the reasons set forth above, the Court dismisses plaintiffs
complaint with prejudice.

Additionally, the Court orders that the Clerk of the Court shall
refund Plaintiffs filing fee of $400 (Receipt No. DET124877), by issuance
of a check payable to Joseph Anthony Sikora at 19615 Bethel Church
Road, Manchester, MI 48158.

IT IS SO ORDERED.

Dated: August 26, 2019 Sit Cc - lew
Ann Arbor, Michigan poDiyH E. LEVY —>

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CERTIFICATE OF SERVICE

The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on August 26, 2019.

s/Shawna Burns
SHAWNA BURNS
Case Manager

